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                                           UNITED STATES DISTRICT COURT
          14
                                       NORTHERN DISTRICT OF CALIFORNIA
          15
                                                  SAN FRANCISCO DIVISION
          16

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                 CHRISTINE BOYD, et al.,                      CASE NO.
          18
                                   Petitioners,               RESPONDENT DOORDASH, INC.’S
          19                                                  NOTICE OF REMOVAL
                       v.
          20                                                  [Removal from Superior Court of California,
                 DOORDASH, INC.,                              County of San Francisco, Case No. CPF-19-
          21                                                  516930]
                                   Respondent.
          22                                                  [Declaration of Joshua Lipshutz filed concurrently
                                                              herewith]
          23
                                                              Action Filed: November 19, 2019
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            1    TO THE CLERK OF THE ABOVE-TITLED COURT AND TO PETITIONERS CHRISTINE
            2    BOYD ET AL. AND THEIR COUNSEL OF RECORD:
            3               PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1441, 1446, and in accordance
            4    with 28 U.S.C. §§ 1331, 1367, Respondent DoorDash, Inc. (“DoorDash”) hereby removes this
            5    action—with reservation of all defenses and rights—from the Superior Court of the State of
            6    California for the County of San Francisco, Case No. CPF-19-516930, to the United States District
            7    Court for the Northern District of California, San Francisco Division. Removal is proper on the
            8    following grounds:
            9                                         TIMELINESS OF REMOVAL
          10                1.    Petitioners Christine Boyd et al. filed a Petition to Compel Arbitration against
          11     DoorDash on November 19, 2019, in San Francisco County Superior Court. Pursuant to 28 U.S.C.
          12     § 1446(a), true and correct copies of the Docket Sheet, Summons, Petition, Civil Case Cover Sheet,
          13     Petitioners’ Proof of Service, and Petitioners’ Ex Parte Motion for Temporary Restraining Order and
          14     Order to Show Cause are attached as Exhibits A–F to the Declaration of Joshua Lipshutz (“Lipshutz
          15     Decl.”) filed concurrently herewith.
          16                2.    Plaintiff served DoorDash, through DoorDash’s agent for service of process,
          17     Registered Agent Solutions, Inc., with the Summons and Petition on November 19, 2019. See
          18     Lipshutz Decl. Ex. E. This notice of removal is therefore timely pursuant to 28 U.S.C. § 1446(b)
          19     because it is filed within 30 days after service was completed. See 28 U.S.C. § 1446(b); Fed. R. Civ.
          20     P. 6(a)(1).
          21                              SUMMARY OF PETITIONERS’ ALLEGATIONS
          22                3.    Petitioners allege that they are 3,997 independent-contractor delivery providers who
          23     previously filed arbitration demands against DoorDash with the American Arbitration Association
          24     (“AAA”) seeking to arbitrate claims that they were misclassified as independent contractors. Compl.
          25     ¶¶ 1, 3.
          26                4.    Petitioners allege that AAA terminated their arbitrations due to DoorDash’s “refusal to
          27     satisfy its filing fee obligations.” Id. ¶ 7.
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            1             5.    On November 19, 2019, Petitioners filed a Petition to Compel Arbitration in the
            2    Superior Court of California, County of San Francisco, purporting to seek relief from the Court under
            3    the Federal Arbitration Act (“FAA”), 9 U.S.C. § 4, “to require DoorDash to abide by the arbitration
            4    agreement it drafted.” Id. ¶ 8.
            5             6.    That same day, Petitioners filed an Ex Parte Motion for Temporary Restraining Order
            6    and Order to Show Cause regarding DoorDash’s updated arbitration agreement. See Lipshutz Decl.
            7    Ex. F.
            8                                        GROUNDS FOR REMOVAL
            9             7.    This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1331
          10     because it raises a federal question. This action, therefore, may be removed to federal court under 28
          11     U.S.C. § 1441(a). Supplemental jurisdiction exists with respect to any remaining state-law claims
          12     under 28 U.S.C. § 1367.
          13              8.    Although the FAA itself “does not create any independent federal-question
          14     jurisdiction,” Southland Corp. v. Keating, 456 U.S. 1, 16 n.9 (1984), courts should “look through” a
          15     petition to compel arbitration filed under 9 U.S.C. § 4 to determine whether, assuming the absence of
          16     an arbitration agreement, the parties’ underlying claims raised a federal question such that the court
          17     would have subject matter jurisdiction, Vaden v. Discover Bank, 556 U.S. 49, 62–64 (2009).
          18              9.    Petitioners in this case filed their petition to compel arbitration under the FAA, 9
          19     U.S.C. § 4. Lipshutz Decl. Ex. C, ¶ 31.
          20              10.   Several of the arbitration demands filed by those same Petitioners before AAA include
          21     claims against DoorDash seeking relief under the Fair Labor Standards Act, 29 U.S.C. §§ 206, 207
          22     (“FLSA”). See Lipshutz Decl. Ex. G (Petitioner Rosas “seek[ing] all available relief under … 29
          23     U.S.C. §§ 206, 207 (Minimum Wage & Overtime)”); id. Ex. H (Petitioner Grim “seek[ing] all
          24     available relief under … 29 U.S.C. §§ 206, 207 (Minimum Wage & Overtime)”); id. Ex. I (Petitioner
          25     Allen “seek[ing] all available relief under … 29 U.S.C. §§ 206, 207 (Minimum Wage & Overtime)”).
          26              11.   Looking through the petition to compel arbitration here makes clear that this Court has
          27     jurisdiction. Several Petitioners seek relief under the FLSA, a federal statute that bestows jurisdiction
          28     under 28 U.S.C. § 1331. See Lipshutz Decl. Exs. G–I (“Claimant seeks all available relief under the

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            1    following provisions … : 29 U.S.C. §§ 206, 207.”). Federal question jurisdiction is proper where (as
            2    here) “the plaintiff’s statement of his own cause of action shows that it is based upon [federal] laws.”
            3    Louisville & Nashville R. Co. v. Mottley, 211 U.S. 149, 152 (1908).
            4                  THIS COURT HAS JURISDICTION AND REMOVAL IS PROPER
            5           12.     Based on the foregoing facts and allegations, this Court has original jurisdiction over
            6    this action pursuant to 28 U.S.C. § 1331 because Petitioners raise a federal question. This Court has
            7    supplemental jurisdiction over any remaining state-law claims under 28 U.S.C. § 1367. Accordingly,
            8    removal of this action is proper under 28 U.S.C. §§ 1441, 1446.
            9           13.     The United States District Court for the Northern District of California, San Francisco
          10     Division, is the appropriate venue for removal pursuant to 28 U.S.C. §1441(a) because it embraces
          11     the place where Petitioners originally filed the case, in the Superior Court of San Francisco County.
          12     See 28 U.S.C. § 84(c); 28 U.S.C. § 1441(a).
          13            14.     In accordance with 28 U.S.C. § 1446(a), true and correct copies of all process,
          14     pleadings and orders served upon DoorDash are attached as Exhibits A–F to the Declaration of
          15     Joshua Lipshutz filed concurrently herewith.
          16            15.     Upon filing the Notice of Removal, DoorDash will furnish written notice to
          17     Petitioners’ counsel, and will file and serve a copy of this Notice with the Clerk of the Superior Court
          18     of San Francisco County, pursuant to 28 U.S.C. § 1446(d).
          19            16.     WHEREFORE, DoorDash hereby removes to the Court the above action pending
          20     against it in the Superior Court of California, San Francisco County.
          21

          22     Dated: November 20, 2019                       GIBSON, DUNN & CRUTCHER LLP
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          24                                                    By:           /s/ Joshua Lipshutz
                                                                                    Joshua Lipshutz
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                                                                Attorneys for Respondent DOORDASH, INC.
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